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SEALED
United States District Court

SOUTHERN DISTRICT OF INDIANA

 

 

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT

V.

ZACHARY BALLINGER CASE NUMBER: l:lS-mj-OO 198

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief.

On or between January, 2018 and February 28, 2018, in Johnson County, in the Southem District of Indiana, and
elsewhere Zachary Ballinger committed the following criminal offenses:

Count 1: Sexual EXploitation of a Minor, in violation of 18 U S. C. § 2251(a);

Count 2: Distribution of a Visual Depiction of a Minor Engaging in Sexually EXplicit Conduct, in
violation of 18 U. S C. § 2252(a)(2):

Count 32 Possession of a Visual Depiction of a Minor Engaging 1n SeXually Explicit Conduct, in violation of 18
U.S.C. § 2252(a)(4)(B) and (b)(2).

I further state that I am a Special Agent, and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof. @,\
W \

Michael Dav` J nson, Special Agent, HSI

Sworn to before me, and subscribed in my presence

March 2, 2018 at lndianapolis, Indiana
Date

Debra McVicker Lynch, U.S. Magistrate Judge M/Z?;¢A~

Name and Title of Judicial Officer Signature of\[udicial foicer

”~.

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Special Agent Michael Johnson, being duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. Affiant: I am a Special Agent With the Department of Homeland Security,
Homeland Security Investigations (“HSI”). l am currently assigned to the Offlce of the Resident
Agent in Charge, Indianapolis, Indiana (RAC/IP). I have been employed as a Special Agent with
HSI since February of 2006. Before being appointed as a Special Agent with HSI, l was a Police
Officer for the City of Indianapolis for approximately eleven years. The last four years, l was
assigned to a federal task force. During my experience with both agencies, I have been involved
in numerous investigations, including those involving production, advertising, distribution and
possession of child pomography. I have had training through the F ederal Law Enforcement
Training Center, HSI, the Indiana State Police, Offlce of Juvenile Justice Prevention, the United
States Attorney’s Office, and Proj ect Safe Childhood in investigating computer related crimes
and child exploitation Since being employed with HSI, I was temporarily assigned to HSI’s
Cyber Crimes Center (C3). During that assignment, l worked on active undercover cyber
investigations as Well as the cataloging of over 10,000 images and videos of child pomography.
l have been involved in over 100 investigations pertaining to the sexual exploitation of children.

2. Probable Cause: For the reasons listed below, there is probable cause to believe
that ZACHARY BALLINGER with a DOB of XX-XXX-l986 (known to affiant, but redacted)
has committed the following offenses in the Southem District of Indiana and elsewhere:

a. Count 1: Sexual Exploitation of a Minor: Within the Southem District
of Indiana and elsewhere, Zachary Ballinger did knowingly employ, use, persuade,

induce, entice or coerce or did knowingly attempt to employ, use, persuade, induce,

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entice or coerce MINOR VICTIM l, a child who is less than 14 years of age, with the
intent that such minor engage in, any sexually explicit conduct for the purpose of
producing any visual depiction of such conduct when Zachary Ballinger knew or had
reason to know that such visual depiction will be transported or transmitted using any
means or facility of interstate or foreign commerce or in or affecting interstate or foreign
commerce or mailed, if that visual depiction Was produced or transmitted using materials
that have been mailed, shipped, or transported in or affecting interstate or foreign
commerce by any means, including by computer, or if such visual depiction has actually
been transported or transmitted using any means or facility of interstate or foreign
commerce or in or affecting interstate or foreign commerce or mailed.

b. Count 2: Distribution of a Visual Depiction of a Minor Engaging in
Sexually Explicit Conduct: Within the Southem District of Indiana and elsewhere,
Zachary Ballinger knowingly distributed a visual depiction, using any means or facility
of interstate or foreign commerce, by any means including by computer, where the
producing of such visual depiction involves the use of a minor engaging in sexually
explicit conduct; and such visual depiction is of such conduct; in violation of 18 U.S.C. '§
2252(a)(2);

c. Count 3: Possession of a Visual Depiction of a Minor Engaging in
Sexually Explicit Conduct: Within the Southem District of Indiana and elsewhere,
Zachary Ballinger knowingly possessed matter which contain any visual depiction that
has been mailed, or has been shipped or transported using any means or facility of
interstate or foreign commerce or in or affecting interstate or foreign commerce, or which

was produced using materials which have been mailed or so shipped or transported, by

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any means including by computer, where the producing of such visual depiction involves

the use of a minor engaging in sexually explicit conduct; and such visual depiction is of

such conduct, including at least one visual depiction of a child who the Defendant knew
to be prepubescent or less than 12 years of age, , in violation of 18 U.S.C. §

2252(a)(4)(B) and (b)(2).

3. Count 1: Sexual Exploitation of a Minor and Attempted Sexual Exploitation
of a Child (18 U.S.C. § 2251(a)): This statute provides that “Any person who employs, uses,
persuades, induces, entices, or coerces any minor to engage in, or who has a minor assist any
other person to engage in, or who transports any minor in or affecting interstate or foreign
commerce, or in any Territory or Possession of the United States, with the intent that such minor
engage in, any sexually explicit conduct for the purpose of producing any visual depiction of
such conduct or for the purpose of transmitting a live visual depiction of such conduct, shall be
punished as provided under subsection (e), if such person knows or has reason to know that Such
visual depiction will be transported or transmitted using any means or facility of interstate or
foreign commerce or in or affecting interstate or foreign commerce or mailed, if that visual
depiction was produced or transmitted using materials that have been mailed, shipped, or
transported in or affecting interstate or foreign commerce by any means, including by computer,
or if such visual depiction has actually been transported or transmitted using any means or
facility of interstate or foreign commerce or in or affecting interstate or foreign commerce or
mailed. lt is also a crime to attempt to sexually exploit a child. 18 U.S.C. § 2251(€).

4. Child Pornography Trafficking (18 U.S.C. § 2252): This investigation
concerns alleged violations of 18 U.S.C. § 2252, which prohibits a person from knowingly

transporting, shipping, receiving, distributing, reproducing for distribution, or possessing any

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visual depiction of minors engaging in sexually explicit conduct when such visual depiction was
either mailed or shipped or transported in interstate or foreign commerce by any means,
including by computer, or when such visual depiction was produced using materials that had
traveled in interstate or foreign commerce. There are additional penalties for offenders who
possession, distribution, receipt, reproduction, or transportation of visual depictions includes
visual depictions of pre-pubescent children or children who are less than 12 years of age. There
are also additional penalties for offenders who violate this section after they have a prior
conviction for an offense under this chapter, section 1591, chapter 71, chapter 109A, or chapter
117, or under section 920 of title 10 (article 120 of the Uniform Code of Military Justice), or
under the laws of any State relating to aggravated sexual abuse, sexual abuse, or abusive sexual
conduct involving a minor or ward, or the production, possession, receipt, mailing, sale,
distribution, shipment, or transportation of child pornography, or sex trafficking of childreny

5. Definitions: The following definitions apply to this Affidavit:

a. The term “minor,” as defined in 18 U.S.C. § 2256(1), refers to any person
under the age of eighteen years.

b. The term “sexually explicit conduct,” 18 U.S.C. § 2256(2)(A)(i-v), is
defined as actual or simulated (a) sexual intercourse, including genital-genital, oral-
genital, anal-genital, or oral-anal, whether between persons of the same or opposite sex;
(b) bestiality; (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious
exhibition of the genitals or pubic areas of any person.

c. The term “visual depiction,” as defined in 18 U.S.C. § 2256(5), includes
undeveloped film and videotape, data stored on computer disc or other electronic means

Which is capable of conversion into a visual image, and data which is capable of

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conversion into a visual image that has been transmitted by any means, whether or not
stored in a permanent format

d. The term “computer,” as defined in 18 U.S.C. §1030(€)(1), means an
electronic, magnetic, optical, electrochemical, or other high speed data processing device
performing logical, arithmetic, or storage functions, and includes any data storage facility
or communications facility directly related to or operating in conjunction With such
device.

6. Residential Search Warrant -` On February 28, 2018, a Federal search Warrant
was served at 2884 Branifield Drive, Franklin, Indiana. Upon serving the warrant, your affiant
encountered Zach Ballinger, D()B XX-XXX-l986 (known to affiant, but redacted). Ballinger
had in his possession a Samsung Galaxy S7 mobile device.

7. Pursuant to the terms and conditions of the search warrant, the Samsung Galaxy
S7 taken from Ballinger was searched at the scene of the search warrant and a number of digital
image files were located including the following:

a. _F_ilg ~ This file depicts a nude pre-pubescent female who is lying on the floor of a

bath tub or shower. The child’s uncovered genitals are the focal point of the image.

b. Ee_Z - This file depicts a nude pre-pubescent female who is sitting on the floor of a

bath tub or shower. The picture is taken from slightly behind the child and her
uncovered genitals are the focal point of the image.

It would appear that the images in question were produced in January of 2018.

8. Interview of Zach Ballinger - Ballinger was briefly interviewed on the scene of
the search warrant, He was not in custody and was free to leave the scene. Ballinger stated that

the images were images of his female relative (relationship known to this affiant but redacted to

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protect the identity of the child), MINOR VICTIM l. Ballinger said that he had taken the
photos. Ballinger stated that he had been curious about Minor Victim 1’s body development but
the pictures were taken accidentally. l

9. Minor Victim 1: This affiant learned that Minor Victim 1 is a 7 year-old female
relative of Zachary Ballinger.

10. Search of I-Phone belonging to Daniel Doyle: A search of a cell phone
belonging to DANIEL DOYLE was conducted at a separate location from the Branifield
residential search warrant and pursuant to search warrant for Doyle’s person and vehicle.

a. The images described above (Files 1 and 2) were found on Doyle’s cell
phone.

b. Also located on Doyle’s cell phone was a Facebook messenger chat
between Ballinger and Doyle in which the two had a sexually explicit conversation about

Minor Victim l. Ballinger and Doyle also discussed the transmission of Files l and 2

from Ballinger to Doyle through Facebook.

11. Interview of Witness 1: In an interview, an individual known as Witness l
(identity known to law enforcement but name redacted to protect identity) confirmed that Doyle
had received the above described files from Ballinger via Facebook messenger. Witness 1 also
confirmed that Doyle and Ballinger engaged in sexually explicit conversation about Minor

Victim 1. The image was transmitted from Ballinger to Doyle in January 0f2018.

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12. Conclusion Based upon the contents of this Affidavit, there is probable cause to
believe that Zachary Ballinger has committed the above listed offenses. l respectfully request
that the Court issue a Criminal Complaint and Arrest Warrant for Zachary Ballinger charging

him with the offense listed above.

 

 

Subscribed and sworn before me this 2nd day of March, 2018

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Debf;McVicker Lyn<_:'h»1
United States Magistrate Judge
Southem District of lndiana ' ,

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